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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

KAO LEE YANG, Individually, and obo,        §
S.V. & T.V., Minors                         §
                                            §
       Plaintiff,                           §                     4:18-cv-161
                                                 CIVIL ACTION NO. _______________
                                            §
VS.                                         §    (ADMIRALTY)
                                            §
TEICHMAN GROUP, LLC, T&T                    §
MARINE, INC., & EXPRESS                     §
PROFESSIONAL SERVICES, INC.                 §
                                            §
       Defendants.                          §

                               NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1333 and 1441(a),

Defendants, Lightering LLC (formerly known as OSG Lightering, LLC and hereinafter

referred to as “Lightering”) and Cheramie Marine, LLC (hereinafter referred to as

“Cheramie”), hereby give notice that the action styled Kao Lee Yang, Individually, and

obo, S.V. & T.V., Minors v. Teichman Group, LLC, T&T Marine, Inc., & Express

Professional Services, Inc., Cause No. 2017-62979, pending in the 164th District Court of

Harris County, Texas is hereby removed to the United States District Court for the Southern

District of Texas – Houston Division. In support of removal, the Defendants, Lightering

and Cheramie, state the following:

                          TEXAS STATE COURT ACTION

1.     On or about September 22, 2017, Plaintiff, Kao Lee Yang, individually and on

behalf of her minor children, S.V. and T.V., filed an action in the 164th District Court of



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Harris County, Texas, styled Kao Lee Yang, Individually, and obo, S.V. & T.V., Minors v.

Teichman Group, LLC, T&T Marine, Inc., & Express Professional Services, Inc., Cause

No. 2017-62979 (the “Texas State Court Action”), against Defendants, Teichman Group,

LLC, T&T Marine, Inc., and Express Professional Services, Inc., asserting wrongful death

and survival causes of action arising out of the death of Plaintiff’s spouse, Tai Chi Vong.

2.     The fatal accident made subject of this litigation occurred on September 20, 2017,

when a T&T employee was operating a T&T owned crane in order to load Lightering’s

equipment onto an offshore supply vessel, the Elliott Cheramie, which is owned by

Cheramie Marine, LLC and was then docked at T&T’s Pelican Island facility in Galveston,

Texas. It is believed that due to the T&T employee’s failure to deploy the crane’s

outriggers, shortly after the crane operator began swinging the boom back toward the

waiting equipment, the boom’s weight pulled the crane over onto its side. As a result, the

boom fell and struck two individuals, Tai Chi Vong, the Plaintiff’s Decedent, and Blake

Carlisle, who were standing on the T&T dock, killing them instantly.

3.     On or about October 3, 2017, Plaintiff filed a First Amended Petition naming

Lightering as a Defendant, asserting the same wrongful death and survival causes of action

it previously asserted against the original Defendants, Teichman Group, LLC, T&T

Marine, Inc., and Express Professional Services, Inc. On or about November 6, 2017,

Lightering filed a Motion to Transfer Venue and, Subject Thereto, Answer to Plaintiff’s

First Amended Petition.

4.     On or about November 27, 2017, Plaintiff filed a Second Amended Petition adding

Cheramie as a Defendant. Plaintiff’s Second Amended Petition was served on Cheramie


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on December 20, 2017. Cheramie is the owner of the Elliott Cheramie, and therefore any

claims by Plaintiff against Cheramie by definition are claims for damage caused by a vessel

within the meaning of the Admiralty Extension Act, 46 U.S.C. § 30101.

5.     Two of the Defendants that Plaintiff sued – T&T Marine, Inc. and Teichman Group,

LLC – have reached a settlement agreement with Plaintiff that is pending Court approval.1

Additionally, on January 16, 2018, Plaintiff filed a notice of non-suit as to Express

Professional Services, Inc. Under the Texas Rules of Civil Procedure, a plaintiff may file

a notice of nonsuit as to one or more of several parties served with process, and doing so

voluntarily dismisses such party or parties from the case. Tex. R. Civ. P. 162, 163. The

nonsuit is effective as soon as it is filed. Greenberg v. Brookshire, 640 S.W.2d 870, 872

(Tex. 1991). Thus, Lightering and Cheramie are the only remaining Defendants against

whom Plaintiff is asserting claims.

6.     On December 20, 2017, Brhian Mathieu, Bruce Harris, and Joshua Powell, who

were crewmembers serving on the Elliott Cheramie at the time of the accident at issue,

filed their Petition in Intervention against Lightering, Cheramie Marine, and Express

Professional Services; they did not name any T&T entities as defendants. Intervenors

allege their claims are “maintained under the Jones Act (46 U.S.C. § 30104) and general



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  Additionally, on December 14, 2017, the claimed survivors of the other individual killed
in the accident at issue, Blake Carlisle, (hereafter “Carlisle claimants”) intervened in the
lawsuit against the T&T Defendants solely for purposes of obtaining Court approval of a
settlement agreement they had reached with T&T (Court approval was required because it
involved a minor). That settlement has been approved by that Court, and the Carlisle
claimants and T&T have requested that those particular claims be severed out of the larger
lawsuit.

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maritime laws of the United States.” The Petition in Intervention was filed and served on

Lightering on December 20, 2017. On January 19, 2018, Intervenors Brhian Mathieu,

Bruce Harris, and Joshua Powell filed a notice of non-suit as to all of their claims.

                     JURISDICTIONAL BASIS FOR REMOVAL

7.     Plaintiff has asserted claims against Cheramie, the owner of the Elliott Cheramie,

and therefore any claims against Cheramie by definition are claims for damage caused by

a vessel under the Admiralty Extension Act, 46 U.S.C. § 30101.

8.     A federal court’s authority to hear cases in admiralty flows initially from the

Constitution, which “extend[s]” federal judicial power “to all cases of admiralty and

maritime jurisdiction.” U.S. Const. art. III, § 2.

9.     28 U.S.C. § 1441 provides as follows: “Except as otherwise expressly provided by

Act of Congress, any civil action brought in a State court of which the district courts of the

United States have original jurisdiction, may be removed by the defendant or the

defendants, to the district court of the United States for the district and division embracing

the place where such action is pending.” A suit within the admiralty jurisdiction is a “civil

action . . . of which the district courts of the United States have original jurisdiction,” and

no Act of Congress expressly prohibits removal of such an action. Accordingly, a case

within the admiralty jurisdiction may be properly removed to federal court. Exxon Mobil

Corp. v. Starr Indemn. & Liab. Ins. Co., No. 15–1555, 2015 U.S. Dist. LEXIS 178100, at

*18–23 (S.D. Tex. Dec. 21, 2015) (Hittner, J.); Exxon Mobil Corp. v. Starr Indem. & Liab.

Co., 2014 U.S. Dist. LEXIS 82434 (S.D. Tex. June 17, 2014) (Atlas, J.). See also Ryan v.

Hercules Offshore, Inc., 945 F.Supp.2d 772, 774–78 (S.D. Tex. 2013) (Miller, J.);


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Carrigan v. M/V AMC AMBASSADOR, No. 13–3208, 2014 U.S. Dist. LEXIS 12484 (S.D.

Tex. Jan. 31, 2014) (Werlein, J.); Wells v. Abe’s Boat Rentals, Inc., 2013 U.S. Dist. LEXIS

85534 (S.D. Tex. June 18, 2013) (Rosenthal, J.).

10.          To the extent that Plaintiff would have been entitled to a jury trial in state court,

Lightering and Cheramie consent to a jury trial in federal court.

11.          Additionally, this Court has subject matter jurisdiction over this action based on

diversity of citizenship pursuant to 28 U.S.C. § 1332(a)(1). Specifically:

        i.      Plaintiff is a Texas resident.

       ii.      Defendant Lightering is a limited liability company organized under the
                laws of the Republic of Liberia. Its sole member is International Seaways
                Operating Corporation, a Marshall Islands corporation whose registered
                address is The Trust Company of the Marshall Islands, Trust Company
                Complex, Ajeltake Road, Ajeltake Island, Majuro, Marshall Islands
                MH96960.

      iii.      Defendant Cheramie is a Louisiana limited liability company.

      iv.       The amount in controversy exceeds $75,000.

12.          Plaintiff alleged in her Petition that Defendants Teichman Group, LLC and T&T

Marine, Inc. are Texas residents. However, Plaintiff has settled her claims with both of

those Defendants.           Accordingly, for purposes of diversity jurisdiction, Defendants

Teichman Group, LLC and T&T Marine, Inc. are not be considered.

13.          Pursuant to 28 U.S.C. §§ 1333 and 1441(a), and without prejudice to any defense

Defendants Lightering and Cheramie may have to Plaintiff’s claims, including, but not

limited to, any defenses related to improper venue, the Defendants, Lightering and




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Cheramie, remove this action from the 164th District Court of Harris County, Texas to the

United States District Court for the Southern District of Texas – Houston Division.

                         VENUE IS PROPER IN THIS COURT

14.    The United States District Court for the Southern District of Texas – Houston

Division embraces the county in which the Texas State Court Action was filed.

Accordingly, this case is properly removed to this Court under 28 U.S.C. § 1446(a).

                                 REMOVAL IS TIMELY

15.    Plaintiff has asserted claims against Cheramie, the owner of the Elliott Cheramie,

and any claims against Cheramie by definition are claims for damage caused by a vessel

under the Admiralty Extension Act, 46 U.S.C. § 30101. Plaintiff’s Second Amended

Petition, which gives rise to the admiralty claims asserted against Cheramie, was served on

Cheramie on December 20, 2017.

16.    This Notice of Removal is filed within 30 days of Cheramie’s first receipt, through

service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon

which such action or proceeding is based. 28 U.S.C. § 1446(b)(1); Murphy Bros. v.

Michetti Pipe Stringing, 526 U.S. 344 (1999).

17.    Further, on January 19, 2018, Intervenors Brhian Mathieu, Bruce Harris, and Joshua

Powell, filed a notice of non-suit as to all of their claims. Because Intervenors claimed to

be Louisiana residents, and Cheramie is a Louisiana resident, prior to their filing of a non-

suit, diversity was not present. However, once they filed their non-suit and dismissed all

of their claims herein, diversity jurisdiction became present.




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18.    Based on the foregoing, this Notice of Removal is timely pursuant to 28 U.S.C.

§ 1446(b).

                                    OTHER MATTERS

19.    Defendants T&T Marine, Inc. and Teichman Group, LLC have given their consent

to this removal.2

20.    Written notice of the filing of this Notice of Removal will be given to all adverse

parties, as required by the provisions of 28 U.S.C. § 1446(d).

21.    A true and correct copy of this Notice of Removal will be filed with the District

Clerk for the 164th District Court of Harris County, Texas, as required by the provisions of

28 U.S.C. § 1446(d). The Defendants, Lightering and Cheramie, are providing the 164th

District Court of Harris County, Texas with written notice of this removal.

22.    Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81, copies of all process, pleadings,

and orders signed by the state judges (if any), a copy of the docket sheets, together with an

index of such documents are attached hereto collectively as Exhibit A. A list of all counsel

of record is attached as Exhibit B.

23.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

upon all counsel and a copy is being filed with the Clerk of the District Court of Harris

County, Texas.




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 However, removing Defendants note that T&T Marine, Inc. and Teichman Group, LLC, have
reached a settlement agreement with Plaintiff that is pending Court approval and thus they are
nominal defendants whose consent to or joinder in this Notice of Removal is not required. Acosta
v. Master Maint. & Const. Inc., 452 F.3d 373 (5th Cir. 2006).


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      WHEREFORE, the Defendants, Lightering and Cheramie, hereby remove this

action to the United States District Court for the Southern District of Texas – Houston

Division.

                                              Respectfully submitted,

                                              BLANK ROME LLP

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                                              and

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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of January, 2018, a true and correct copy of the
foregoing document was forwarded to all counsel of record in accordance with the Federal
Rules of Civil Procedure.


                                                  /s/ Michael K. Bell
                                                  Michael K. Bell




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